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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


Criminal Case No. 18-cr-490-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     ROBERT STEPHEN LUX,

       Defendant.

______________________________________________________________________________

                                       INDICTMENT
Counts 1 through 4: 18 U.S.C. ' 472 B Uttering and Passing Counterfeit Obligations or Securities
    Counts 5 through 46: 18 U.S.C. ' 474 B Possession of a Digital or Electronic Image of
                                   Obligations or Securities
 Count 47: 18 U.S.C. ' 476 B Making an Impression and Tool used for Obligations or Securities


                                             COUNT 1

       The Grand Jury charges that:

       On or about September 21, 2018, in the State and District of Colorado, ROBERT

STEPHEN LUX, defendant herein, together with others known and unknown not named herein,

with intent to defraud, did pass, utter, and publish; and, did attempt to pass, utter, and publish to

Kohl’s located at 4800 Milestone Lane, Castle Rock, Colorado, a falsely made, forged, and

counterfeited obligation or other security of the United States, to wit: counterfeit Federal Reserve

Notes (U.S. currency) in the denomination of one hundred dollars, which the defendant then

knew to be falsely made, forged and counterfeited; and further, ROBERT STEPHEN LUX,



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defendant herein, together with others known and unknown not named herein, did knowingly

and intentionally aid, abet, counsel, command, induce and procure another’s participation in the

commission of said offense.

       All in violation of Title 18, United States Code, Sections 472 and 2.

                                            COUNT 2

       The Grand Jury charges that:

       On or about September 19, 2018, in the State and District of Colorado, ROBERT

STEPHEN LUX, defendant herein, with intent to defraud, did pass, utter, and publish; and, did

attempt to pass, utter, and publish to Best Buy located at 9363 Sheridan Boulevard, Westminster,

Colorado, a falsely made, forged, and counterfeited obligation or other security of the United

States, to wit: counterfeit Federal Reserve Notes (U.S. currency) in the denomination of one

hundred dollars, with the serial numbers BM29368484L and LL68683932B, which the defendant

then knew to be falsely made, forged and counterfeited.

       All in violation of Title 18, United States Code, Section 472.

                                            COUNT 3

       The Grand Jury charges that:

       On or about September 15, 2018, in the State and District of Colorado, ROBERT

STEPHEN LUX, defendant herein, with intent to defraud, did pass, utter, and publish; and, did

attempt to pass, utter, and publish to Wal-Mart located at 9400 Ralston Road, Arvada, Colorado,

a falsely made, forged, and counterfeited obligation or other security of the United States, to wit:

counterfeit Federal Reserve Notes (U.S. currency) in the denomination of one hundred dollars,

serial number BM29368484L, which the defendant then knew to be falsely made, forged and


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counterfeited.

       All in violation of Title 18, United States Code, Section 472.

                                            COUNT 4

       The Grand Jury charges that:

       On or about August 27, 2018, in the State and District of Colorado, ROBERT STEPHEN

LUX, defendant herein, with intent to defraud, did pass, utter, and publish; and, did attempt to

pass, utter, and publish to P.A. located in Colorado Springs, Colorado, a falsely made, forged,

and counterfeited obligation or other security of the United States, to wit: counterfeit Federal

Reserve Notes (U.S. currency) in the denomination of one hundred dollars, serial number

BF44940758I, which the defendant then knew to be falsely made, forged and counterfeited.

       All in violation of Title 18, United States Code, Section 472.

                                       COUNTS 5 through 46

       The Grand Jury further charges that:

       On or about September 21, 2018, in the State and District of Colorado, ROBERT

STEPHEN LUX, defendant herein, did unlawfully and with intent to defraud, have in in his

control, custody, and possession a digital and electronic image of an obligation or other security

of the United States, to wit: counterfeit Federal Reserve Notes (U.S. currency), specifically set

forth below and each of which constitutes a separate Count of this Indictment:

             Count         Denomination                     Serial Number

                 5                $2                         L40347880A

                 6               $20                        ML12524673A




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         Count     Denomination            Serial Number

           7           $20                  JK52075191A

           8           $20                  JB59562188F

           9           $50                 ML08009867A

           10          $50                  JI14269365A

           11          $20                  AC05653612F

           12          $50                 AB56186706B

           13          $20                 ML37016228H

           14          $20                 MB32839113B

           15          $20                  IF28261917G

           16          $20                 MG47526751A

           17          $20                  JD54830358C

           18          $20                  JD89618825C

           19          $20                  JB59562188F

           20           $5                 MG15727185B

           21           $5                  MI08831876A

           22           $5                  IL35277952A

           23           $5                 MF80189374B

           24           $5                  JC15433573A



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         Count     Denomination            Serial Number

           25           $5                  MJ24645438A

           26          $10                 MD11710863B

           27          $10                 MF23906362C

           28          $10                  JC76857015A

           29          $100                HH76138685A

           30          $100                 FB49440750B

           31          $100                 FB49440754B

           32          $100                 FB49440755B

           33          $100                 FB49440757B

           34          $100                 BF44940758I

           35          $100                 KF24940758B

           36          $20                 MB31690490C

           37          $100                 LB98168194H

           38          $100                LB69834842M

           39          $100                 KF24940758B

           40          $100                KB24940758K

           41          $100                KB24940750K




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             Count         Denomination                    Serial Number

               42                $100                      KB00940758K

               43                $100                      KB94940758K

               44                $100                       TI84939322B

               45                $100                      BM29368484L

               46                $100                      LL68683932B




       All in violation of Title 18 United States Code, Section 474.

                                               COUNT 47

       The Grand Jury further charges that:

       On or about September 21, 2018, in the State and District of Colorado, ROBERT

STEPHEN LUX, defendant herein, without authority from the United States, did make an

impression, stamp, and imprint of a tool, implement, and instrument, intended to be used in

printing and stamping genuine obligations and securities of the United States, that is, Federal

Reserve Notes (U.S. currency).

       All in violation of Title 18, United States Code, Section 476.

                                                     A TRUE BILL


                                                     Ink Signature on file in Clerk’s Office
                                                     FOREPERSON




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ROBERT C. TROYER
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